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                                                   June 5, 2018

   The Honorable Lawrence F. Stengel                                         VIA ELECTRONIC FILING
   United States District Court
     for the Eastern District of Pennsylvania
   James A. Byrne U.S. Courthouse
   601 Market Street, Room 14613
   Philadelphia, PA 19106

             Re:        The Johns Hopkins University v. Alcon Laboratories, Inc., et al.
                        C.A. No. 15-525 (LS) (SRF) District of Delaware

   Dear Chief Judge Stengel:

          We represent Alcon in this matter and write in response to JHU’s letter submitted earlier
   today about setting the trial date.

          Alcon respectfully requests that any discussions relating to setting of a trial date be
   deferred until after the motions in limine and for reconsideration have been decided. As detailed
   below, the outcome of these motions will affect not only the scope and length of trial, and the
   testimony of the witnesses, but will also affect the remaining pretrial discovery to be
   completed. Alcon respectfully submits that it would be better to resolve these issues first, and to
   have a more concrete understanding about the scope of trial and then set the trial date—as
   opposed to setting a trial date now, which may have to be changed, further disrupting planning
   and scheduling.

          Although JHU notes the age of the case, there is no need to sacrifice the merits to
   speed. JHU delayed filing suit for nearly a decade, does not make a competing product, is
   seeking damages through patent expiration, and has not sought preliminary injunctive relief.

           Moreover, JHU has continually delayed the progress of this case. JHU’s damages expert
   has issued (without leave of Court) a “supplemental” report after certain evidence was stricken
   during the Daubert proceedings—on JHU’s own motion. Alcon is concerned that he will do so
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   again in the future, and does not know whether JHU will seek to supplement the reports of any of
   its other experts based on the outcome of the motions in limine.

           Similarly, JHU has repeatedly delayed the deposition of Alcon’s retired in-house counsel,
   Mr. Barry Copeland, while seeking the production of Alcon’s litigation-related, privileged in-
   house documents, most of which were created after Mr. Copeland retired. Although the Court
   recently resolved that dispute in Alcon’s favor, JHU has again declined to depose Mr. Copeland,
   pending a ruling on JHU’s motion for reconsideration.

            Alcon further notes that on its equitable estoppel defense, JHU appears to be taking the
   position that to the extent there are any fact issues, they should be resolved by the Court and not
   the jury. Alcon seeks the Court’s guidance on this issue, because Alcon’s equitable estoppel
   defense is a case-dispositive issue: it would preclude JHU from securing relief as a matter of
   equity even if the patent were held to be valid and infringed. To the extent JHU seeks to resolve
   issues sooner rather than later, Alcon proposes that the Court consider whether this is an issue
   that will be resolved by the Court or by the jury, and if the former, whether it should be tried
   first, as resolution in Alcon’s favor would obviate the need for a jury trial.

         Alcon is, of course, prepared to discuss these and any other scheduling issues at a time
   convenient to the Court and the parties, either in person or by telephone.

                                                  Respectfully,

                                                  /s/ Jack B. Blumenfeld

                                                  Jack B. Blumenfeld (#1014)


   JBB/bac

   cc:    Clerk of the Court (by hand delivery)
          All Counsel of Record (by e-mail)
